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EXHIBIT A
Case 1:15-cv-00877-GMS Document 1-1 Filed 09/29/15 Page 2 of 7 PagelD #: 7

 

 

     

EFiled: Aug 25 2018 0484 EDT

IN THE SUPERIOR COURT OF THE STATE OP RELAWARP 654 *
IN AND FOR KENT COUNTY eae “025 JC Me

  
   
 

cA e
JOHN DENTON,

Plaintiff,
C.A. No.

TRIAL BY JURY DEMANDED

CHRYSLER AUTOMOTIVE OPERATIONS,
INC., a Delaware Corporation and FCA US
LLC, a Limited Liability Company of the State
of Delaware,

ee Nae ene Nene See? Seal Set Senet eet Neweet ane Sea” Set”

Defendants

CG:3 YB ais erge
ALWAOD FULSY9 WIN
SONVH S.44tY3HS HI

TO: THE SHERIFF OF NEW CASTLE COUNTY
YOU ARE COMMANDED:

To summon the above named defendant FCA US, LLC, so that, within 20 days after service
hereof upon defendant, exclusive of the day of service, defendant shall serve upon John C. Andrade,
Esquire, plaintiffs attorney, whose address is 116 West Water Street, P.O. Box 598, Dover, Delaware
19903, an answer to the complaint (and, if an affidavit of demand has been filed, an affidavit of

defense).

To serve upon defendant a copy hereof and of the complaint (and of the affidavit of demand if
any has been filed by plaintiff).

Clg a8, 20

TO THE ABOVE NAMED DEFENDANT:

 

 

In case of your failure, within 20 days after service hereof upon you, exclusive of the day of
service, to serve on plaintiff’s attorney named above an answer to the complaint (and, if an affidavit of
demand has been filed, an affidavit of defense), judgment by default will be rendered against you for
the relief demanded in the complaint (or in the affidavit of demand, if any).

ANNETTE ASITCRY,
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SUPERIOR COURT CIVIL CASE INFORNERESON AMENAT ARIAS CHS i
Transaction ID 5776547 ie

Case No. K15C-08-025 JUC Wea

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

COUNTY: N kK. 8 CIVIL ACTION NUMBER: re
CAPTION: CIVIL CASE CODE: CPRL
John Denton, CIVIL CASE TYPE:
(See reverse side for code and type)
Plaintiff,
NAME AND STATUS OF PARTY FILING DOCUMENT.
Vv,
Plaintiff, John Denton
Chrysler Automotive ration wa De Corporation
. , DOCUMENT TYPE: (E.G., COMPLAINT; ANSWER WITH
and FCA US. LLC, a limited Liability Company of the State. | COUNTERCLAIM)
of Delaware
Complaint
Defendant,

JURY DEMAND x YES NO

ATTORNEY NAME(S): IDENTIFY ANY RELATED CASES NOW PENDING IN
John C. Andrade, Esquire THE SUPERIOR COURT BY CAPTION AND CIVIL

ACTION NUMBER INCLUDING JUDGE’S INITIALS

ATTORNEY ID(S):
1037

FIRM NAME:

 

EXPLAIN THE RELATIONSHIP(S):
Parkowski, Guerke & Swayze, P.A.
ADDRESS:

 

 

 

116 West Water Street, P.O, Box 598

 

Dover, DE 19903

 

 

 

 

 

TELEPHONE NUMBER:
(302) 678-3262
FAX NUMBER: OTHER UNUSUAL ISSUES THAT AFFECT CASE
MANAGEMENT:

 

(302) 678-9415
E-MAIL ADDRESS:
jandrade@pgslegal.com

 

 

 

(JF_ADDITIONAL SPACE IS NEEDED, PLEASE ATTACH
PAGES)

THE PROTHONOTARY WILL NOT PROCESS THE COMPLAINT, ANSWER OR FIRST RESPONSIVE PLEADING
IN THIS MATTER FOR SERVICE UNTIL THE CASE INFORMATION STATEMENT (CIS) IS FILED. THE
FAILURE TO FILE THE CIS AND TO HAVE THE PLEADING PROCESSED FOR SERVICE MAY RESULT IN THE
DISMISSAL OF THE COMPLAINT OR MAY RESULT IN THE ANSWER OR FIRST RESPONSIVE PLEADING
BEING STRICKEN.

 

 

 

 

 

 

 

 
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EFiled: Aug 25 2015 03:27P
Transaction ID 57765475
Case No. K15C-08-025 JJC
IN THE SUPERIOR COURT OF THE STATE OF DELAWARE
IN AND FOR KENT COUNTY

 

JOHN DENTON,

Plaintiff,
C.A. No.

TRIAL BY JURY DEMANDED

CHRYSLER AUTOMOTIVE OPERATIONS,
INC., a Delaware Corporation and FCA US
LLC, a Limited Liability Company of the State
of Delaware,

COMPLAINT

Ne a Ne ee ee Ne Ne er Na Nee? Nee” Se”

Defendants

Count!

1. Plaintiff, John Denton, resides at 7400 Cedar Grove Lane, Elkridge, MD
21075.

2. Defendant, Chrysler Automotive Operations, Inc., is a corporation of the
State of Delaware and Defendant, FCA US LLC, is a limited liability company of the
State of Delaware (jointly “Chrysler’). Either or both are successor corporations to and
stand in the shoes of Chrysler Corporation the manufacturer of the vehicle in question.

3. On or about August 26, 2013, Plaintiff, John Denton was driving a 2000
Jeep Wrangler (VIN: 1U4FA29PXYP720783) (“Jeep wrangler’ or “vehicle”) in Milford,
Delaware, when he was involved in an accident, During the accident collision the
driver’s seat twisted and caused the Plaintiff to make contact with the rear seat causing

him to suffer serious injuries.

 

 
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4. Chrysler had a duty to Plaintiff to design, manufacture and market only
vehicles that were reasonably safe for their intended operation. Chrysler breached that
duty and was negligent in the design and manufacture of the vehicle in question in that:

a. the vehicle was designed or manufactured such the driver's seat
twisted during a collision ;

b. Chrysler failed to design the Jeep Wrangler so that the driver's seat
wouldn't twist during a moderate collision;

Cc. Chrysler failed to design any safety features with the Jeep Wrangler
that would prevent the driver's seat from shifting on impact; and

d. Chrysler failed to design and manufacture a vehicle that was
crashworthy.

5. Chrysler was negligent and breached its duty by failing to warn adequately
in that:

a. Chrysler failed to warn adequately of the propensity of the driver's
seat in the Jeep Wrangler to twist and send a driver into the rear seat during a collision;

b. Chrysler failed to warn adequately of the dangers of the driver's
seat twisting during a collision;

C. Chrysler failed to provide adequate instructions on how to minimize
the chances of the driver's seat twisting during a collision;

6. As a direct and proximate result of the negligence of Chrysler, Plaintiff
suffered serious injuries.

Count Ill

 

 
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7. Paragraphs 1 — 6 are re-alleged and incorporated by reference as set forth
in full herein.
8. Chrysler has been engaged in the business of selling Jeep Wrangler
vehicles.
9. The vehicle in question was in a defective condition and unreasonably
dangerous to the Plaintiff when sold in that:
a. The driver's seat had a propensity to twist and fail during a collision;
b. The vehicle was sold without adequate warnings of the driver's seat
twisting and failing during a collision; and
C. The vehicle was sold without adequate instructions that might have
minimized the chances of the driver's seat twisting during a collision,
10. The vehicle was being used in a manner reasonably anticipated by and-
reasonably foreseeable by Chrysler.
41. As direct and proximate result of the defective condition of the vehicle,
Plaintiff suffered serious injuries.
Count Ill
12, Paragraphs 1 — 11 are re-alleged and incorporated by reference as set
forth in full herein.
13. Chrysler breached implied warranties of merchantability in that the vehicle
in question was not suitable for use in that:
a. the driver's seat was not designed or manufactured so that it would

not twist and fail in a collision;

 

 
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b, it was sold without adequate warnings about the serious injury that
could result if the vehicle was in a collision;
C. the vehicle was sold without adequate instructions to prevent the
driver’s seat to twist during a collision; and
d. the vehicle was not merchantable and was not suitable for use in
that the propensity of the driver's seat to twist during a collision.
14. As a direct and proximate result of the breach of warranty by Chrysler,
Plaintiff suffered serious injuries.
WHEREFORE, Plaintiff demands judgment against the Defendant for general,

special and compensatory damages, together with the costs of this action.

PARKOWSKI, GUERKE & SWAYZE, P.A.

By:/s/ John C, Andrade
JOHN C. ANDRADE, ESQUIRE, 1.D.# 1037
116 W. Water Street
P.O. Box 598
Dover, DE 19903
(302) 678-3262
Attorneys for Plaintiff
DATED: August 25, 2015

 

 
